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                                 UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION
    PATRICIA DODD                              §
                                               §

               Plaintiff,                                 §
                                                          §
    v.                                                    §     CIVIL ACTION NO. ____________
                                                          §
    ROBERT GLASER, IN HIS OFFICIAL                        §                         JURY DEMANDED
    CAPACITY; CESAR MALDONADO, IN                         §
    HIS OFFICIAL CAPACITY; AND                            §
    HOUSTON COMMUNITY COLLEGE                             §
                                                          §

               Defendants.                                §

         PLAINTIFF’S ORIGINAL COMPLAINT AND REQUEST FOR JURY TRIAL

          Plaintiff Patricia Dodd brings this suit against Robert Glaser, in his official capacity (herein

“Glaser”), Cesar Maldonado, in his official capacity (herein “Maldonado”), and Houston

Community College (herein “HCC” or “the college”) and asserts the following:

                                              I.
                                    BRIEF SUMMARY OF CLAIMS

          1.      Sexual exploitation and harassment of female employees at HCC is grotesque and

widespread. The two most powerful policymakers at the college are male — defendants Glaser1

and Maldonado2 — whom both have engaged in repetitive, flagrant, sometimes grotesque bullying

and vile sexual exploitation of vulnerable subordinate female employees at the college. Other male




1
  At all relevant times alleged in this case, unless specified otherwise, Robert Glaser served as the Chair of the HCC
Board of trustees.
2
  At all relevant times alleged in this case unless specified otherwise, Cesar Maldonado served as Chancellor of HCC,
also sometimes referred to as the Chief Executive Officer of HCC.

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supervisors have emulated their wrongdoing at the college without reasonable correction or

redress.

       2.      Glaser’s and Maldonado’s sexual wrongdoing has variously included having sexual

relations with an incapacitated female employee who was unable to give consent to such conduct;

tampering with a witness to limit what she would reveal about sexual harassment; threatening HCC

law enforcement officers with termination of their jobs if they asked too many questions about

Maldonado’s sexual exploitation of his subordinate female paramour, as well as repeatedly turning

a blind eye to other male supervisors’ sexually harassing actions toward subordinate female

employees. Such conduct is so widespread at HCC it is effectively the de facto custom, pattern,

and practice of the college to permit, indulge and tolerate male sexual harassment of vulnerable

female employees.

       3.      This case presents the disturbing sexual harassment and exploitation of unmarried

Plaintiff by the married Chairman of HCC’s Board of Trustees, Robert Glaser. Glaser’s sexual

misconduct was facilitated by and mirrored similar sexual misconduct of the Chancellor of the

college, Cesar Maldonado. Maldonado was aware of Glaser’s relationship with Plaintiff; he

facilitated the misconduct by allowing Glaser to be copied on Plaintiff’s college emails and did

nothing to stop Glaser’s visits to Plaintiff’s campus and classes during the academic semester—

activity that is normally not permitted without prior notification to appropriate college authorities

in Maldonado’s office. And, based on information and belief, Maldonado authorized an out-of-

state trip for Glaser—paid for with public taxpayer dollars— during which Glaser paid for Plaintiff

to travel along early so he could have three (3) days of hedonic sex with her while staying in the

same room at a 5-Star hotel in Washington, DC. Glaser pledged to help Plaintiff with her

administrative problems at the college in exchange for having a sexual relationship with her.



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        4.       The Chancellor was not innocent in what Glaser was doing. Maldonado’s own

sexual harassment of his subordinate paramour set the example for other male supervisors to harass

and exploit their female subordinates —a fact Glaser brought up to Plaintiff to justify his own

sexual misconduct. How could he be reprimanded when the CEO of the college was doing the

same thing without suffering any adverse consequences.3 As the head administrative policymaker

at HCC, Maldonado’s actions and decisions reflected the de facto policy, custom, and practice of

the college, allowing male supervisors4 to satisfy their sexual desires at the expense of female

employees. Moreover, because Maldonado was guilty of sexually harassing his female employee,

it provided license to others around the college to do likewise. For a fuller discussion, see Pages

16-17, infra.

        5.       Because the two most powerful policymakers at HCC had adopted and promoted

the de facto policy and practice of sexually exploiting female employees, their conduct was the

college’s effective policy. If the authorized policymakers approve a subordinate’s decision and the

basis for it, such ratification is chargeable to the governmental entity because their decision is final.

City of St. Louis v. Praprotnik, 485 U.S. 112, 127 (1988) (plurality opinion) (the conduct of the

policymaker can establish the policy, practice, or custom of a governmental entity.)

        6.       Ultimately, when Plaintiff demanded Glaser’s requests for sex stop, Glaser

withdrew his perceived support of Plaintiff, HCC retaliated and refused to renew her employment




3
  Once when Plaintiff complained to Glaser that what he was doing to her was not right, Glaser shot back that
Maldonado was doing the same thing with his lover and therefore what he was doing was okay as well.
4
  Preliminary investigation suggests that all of the following individuals may have had information about how acts of
sexual predation and sexual harassment were tolerated, excused, and ignored at HCC: Maldonado, Glaser, and HR
director Janet May; former HCC Police Chief Greg Cunningham, Charles (Chuck) Smith, Ana Belasquez, Melissa
Gonzalez, James Bailey, Brandy Griffin, Fredrick Portis, David Cross, and officers at the Houston Police Department,
Harris County Sheriff’s office, and HCC police department.

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contract after 8+ years of teaching at the college.5. The decision not to renew Plaintiff’s teaching

contract occurred just days after she filed her EEOC sexual harassment complaint against the

Defendants.

        7.       Plaintiff brings this suit against HCC for knowingly violating her right to bodily

integrity under color of state law—a right guaranteed to her under the Fourth and Fourteenth

Amendments to the Constitution and Title VII of the Civil Rights Act of 1964, actionable by 42

U.S.C. §1983. Plaintiff also sues Maldonado and Glaser for ratifying the de facto custom, practice,

and policy of allowing unaddressed sexual harassment and quid pro quo sexual harassment of

female employees —which she was a victim of—to go without correction. See e.g., Doe v. Taylor

Indep. Sch. Dist., 15 F.3d 443, 452 (5th Cir. 1994) (en banc) (concluding that sexual assaults can

never serve a legitimate state interest and are actionable against a public entity under 42 U.S.C.

§1983.) The right to bodily integrity also includes the right to be free from arbitrary and capricious

government action that shocks the conscience and violates the decencies of civilized conduct.

Thus, both Glaser and Maldonado, acting under color of state law, violated Plaintiff’s

constitutional, federal, and state rights to be free from sexual assault and sexual harassment

perpetrated by a state actor under color of state law.

                                         II.
                        JURISDICTIONAL AND VENUE ALLEGATIONS

        8.       This Court has jurisdiction over the claims asserted in this suit under 28 U.S.C. §

1331 because claims asserted herein arise under federal law, the Constitution of the United States,

and are enforceable in this court pursuant to 42 U.S.C. § 1983 and Title VII of the Civil Rights



5
  HCC will contend it did not renew Plaintiff’s employment contract because she had been arrested and she failed to
report the arrests even though she was not convicted of any crime. Plaintiff intends to show that other HCC employees
have been arrested, not convicted, and have not had their employment terminated at the college and that HCC’s
explanation is merely pretextual.

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Act of 1964. The relevant conduct and de facto customs and practices of the college and the named

policymakers violated Title VII of the Civil Rights Act of 1964, rights protected in 42 U.S.C. §

1981 and enforceable under §1983. The Court also has jurisdiction over Plaintiff’s state-law claims

arising from related operative facts as Plaintiff’s federal-law claims pursuant to 28 U.S.C. § 1367.

The individual defendants had no discretion to abuse Plaintiff sexually or to violate her bodily

integrity. And there is no legitimate state interest in permitting the named defendants, in this case,

to sexually harass and sexually assault Plaintiff.

           9.        Additionally, at all relevant times in this suit, HCC was an “employer” as defined

in Title VII and accepted federal funding and federal grant money. Thus, by accepting such federal

monies, HCC had to and did expressly agree to waive its sovereign immunity relating to the type

of sex discrimination, sexual harassment, sexual battery, and retaliation claims Plaintiff asserts in

this case. See Gruver v. La. Bd. of Supervisors for the La. State Univ. Agric. & Mech. Coll., 959

F.3d 178 (5th Cir. 2020) (governmental entity which accepts federal funds expressly waives its

sovereign immunity as to discrimination claims).

           10.       Venue is also proper in the Southern District of Texas because the events

complained about in this case substantially occurred in this county and within this District and,

specifically, the Houston Division. Additionally, one or more of the Defendants sued in this case

resides in and/or has its principal place of business in this county and District. Finally, Plaintiff

has satisfied all conditions precedent to bring the claims asserted in this case, including obtaining

a Right to Sue letter from the EEOC.6

                                                  III.
                                              THE PARTIES




6
    See Exhibit 1.

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         11.     Plaintiff Patricia Dodd is a Texas resident who lives in Houston, Harris County,

Texas.

         12.     Defendant Houston Community College—also sometimes referred to as the

Houston Community College System (“HCC”)—is a public education institution situated in Harris

County, Texas. This defendant can be served by and through its Chancellor, Cesar Maldonado,

who can be served at 748 W. 42nd St., Houston, TX 77018, or wherever he may be found.

         13.     Cesar Maldonado is the Chancellor of HCC. He is a Texas resident and is being

sued in his official capacity. He can be served with process at 748 W. 42nd St., Houston, TX

77018, or wherever he may be found.

         14.     Robert Glaser was the Chair of HCC’s Board of Trustees when he began and during

the entire period of time that he was sexually harassing and assaulting Plaintiff.7 Some of his

sexual misconduct occurred on HCC campuses, at HCC-sponsored events, and as a part of his

purported duties carried out on behalf of the college for which he is now sued in his official

capacity. Glaser can be served with process at 2127 Tangley St., Houston, TX 77005, or wherever

he may be found.

                                               IV.
                                       NOTICE ALLEGATIONS

         15.     Plaintiff is a single female who lives alone. She depends on the salary she earns at

HCC teaching English for her livelihood. She has successfully taught HCC students for more than

eight (8) years and has had her HCC employment contract repeatedly renewed without incident

until the events complained about in this suit. Presently, she is just shy of 5 years from retirement.




7
 After Plaintiff filed her EEOC complaint against HCC, Maldonado and Glaser, Glaser was voted out as Chair of the
HCC Board of Trustees.

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           16.      For most of her teaching years, Plaintiff had never personally met or known of

Defendant Glaser. The only knowledge she had of him was a vague understanding that he was

one of the 9 HCC trustees. That lack of knowledge changed in November 2019 when Plaintiff

attended an HCC-sponsored event for staff and instructors. Plaintiff attended the evening event

alone and sat at a table with several of her co-workers. Glaser was also at the table. He sat next to

Plaintiff and quickly started directing his conversation to her. He asked what Plaintiff did, how

long she had worked at HCC, and queried her about how she enjoyed working at the college.

Plaintiff answered all questions respectfully—understanding now that she was speaking to a

“trustee.” When it came to answering his question about how she liked working at the college,

Plaintiff responded truthfully that she loved teaching the students but was encountering problems

with school bureaucrats and administrators on campus. She advised that she had tried to complain

up the chain of command without meaningful success.                         Having been diagnosed with Post-

Traumatic Stress Disorder (“PTSD”)8 in 2009, Plaintiff told Glaser she feared her situation was

worsening in her department because of petty administrative bickering.                           Glaser took this

information as an opportunity to tell Plaintiff he was in a position as trustee to look into and help

her with her HCC problems and asked for her contact information. Plaintiff gave the trustee her

HCC business card, which contained her contact information. She thanked him for his offer of

assistance, and she soon thereafter departed the table to go home.

           17.      Plaintiff left the event with a few of her colleagues walking her to her car for safety

since she was alone. She left and went straight home. That same evening, at around 10-10:30 pm,

Plaintiff received a text message on her cellphone. It was Glaser, the HCC trustee! Glaser wrote

that it was nice to meet her and started messaging her about different matters. Plaintiff found the



8
    Plaintiff’s PTSD related to the traumatic death of a parent and stresses in the workplace.

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text conversation odd, especially late at night. Earlier at the table, Glaser had told everyone he

was married, so Plaintiff found it particularly strange and uncomfortable that he would be texting

her late at night as a married man.

       18.     Plaintiff knew nothing about this man other than he said he was an HCC trustee,

and he was offering to help her. After the text exchange ended, Plaintiff called one of her female

friends, who had also been sitting at the table with Glaser. She told the friend what had happened

and how strange it was for him to be texting her so quickly. The friend remarked that Glaser was

out of line, but Plaintiff should just wait and see. Plaintiff hoped Glaser’s text was simply a product

of being helpful or concerned and nothing else. Unfortunately, that would prove not to be the case.

       19.     Glaser did not stop with his texts. He repeatedly texted Plaintiff on her cellphone

over the next few days under the pretense he was reporting back to her on what he was doing to

make her situation at HCC better. He stated that Chancellor Maldonado was his close friend and

that he would get him (Maldonado) involved to help her, including making changes within the

department. Plaintiff was encouraged, knowing now that both Glaser and Maldonado were

working together to help her with her job.            Glaser kept in touch with Plaintiff over the

Thanksgiving and Christmas academic breaks. Things seemed to be improving at work for her.

       20.     Plaintiff thanked Glaser for what appeared to be improvements she thought were

the result of Glaser’s efforts. Glaser called her to celebrate the progress he was making at the

college on her behalf and suggested taking her to a local bar in his neighborhood called The Big

Easy Social and Pleasure Club located in Southampton. Plaintiff asked for the address to the bar

and told Glaser she would meet him there. However, Glaser insisted on picking Plaintiff up from

her house in his car to take her to the bar he had chosen. Plaintiff, therefore, provided him with




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her home address, and Glaser picked her up around 7:00 pm and headed to the bar. Plaintiff had

never been to Glaser’s suggested bar before that evening, nor had Glaser been to her house before.

       21.     After arriving at the bar, Plaintiff remembers sitting down and ordering up to three

(3) gin and tonic drinks.    After the drinks, Plaintiff has no recollection of anything else that

followed that night. She did not see anyone put anything in her glass, and only she and Glaser

were sitting at the bar the entire time. She did not remember leaving the bar, nor being driven

home, or how she got back into her house. After consuming the drinks, Plaintiff’s first memory

was waking up the next morning in her house with no clothes on and having sore thighs. She was

alone in the house, and her house door was unlocked. Plaintiff was frightened and could not recall

anything about leaving the bar and laid in bed confused—fearing the trustee may have tried to

have sex with her. After inspecting her body, she was uncertain as to what had happened to her

that night. Later the same morning, Defendant Glaser contacted Plaintiff and told her he had driven

her home, used her house keys to open the door, put her in bed, then said, “and we made out.”

Plaintiff asked, “we made out? What do you mean?” Glaser’s response to that question made no

sense. Plaintiff felt dazed, ill, and confused. She called her friend, a person who was also present

at the table the evening when Glaser first introduced himself at the HCC event. The friend advised

Plaintiff to report Glaser to the police. Who would believe her? She had gone to the bar with him,

had some drinks there, he drove her to and from the bar, and she was in her house when he had

“made out” with her. And, her livelihood at HCC would come to an immediate end since,

according to Glaser, he and the Chancellor were friends and working together to help her. Since

she did not know what had happened exactly, and Glaser had admitted to making out with her, she

concluded he had done something to her body without her consent.




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        22.     Following that night, Glaser began physically showing up at Plaintiff’s house,

asking to be let in. His visits to Plaintiff’s home became incessant—nearly every weeknight—and

Plaintiff’s neighbors began commenting about this man coming to her house, knocking on the

door, and sometimes leaving items on her mailbox. One of the neighbors recognized Glaser as an

HCC Trustee and threatened to tell HCC staff that Glaser was having an affair with Plaintiff. To

stop Glaser from making such a show in front of her house, and when Glaser would not stop

coming to her house, Plaintiff allowed him into her house to discuss what he said would be a report

on his efforts on her behalf at the college.

        23.     Glaser told Plaintiff that he had talked to Maldonado to obtain permission to have

his name and email address added to Plaintiff’s HCC emails. Glaser said he told Maldonado he

wanted to be on Plaintiff’s emails to show her supervisors that he was personally involved and

watching how they were acting with Plaintiff in an attempt to protect her job. Plaintiff was worried

about the blowback she would face from the trustee’s name being on her emails and felt that the

real purpose for Glaser doing this was to spy on her to see with whom she was communicating.

This suspicion was heightened when Glaser told her around January 2020 that he was jealous of

her being around or talking to any other male. Plaintiff had observed that when Glaser saw a man

around her on campus, his mannerism and manner of dealing with her became more assertive and

possessive.     His unwelcome behavior was making Plaintiff increasingly uneasy and

uncomfortable. His controlling nature made Plaintiff feel as though she needed to be at his beck

and call at all times, and it affected her social life, professional life, and her mental health.

        24.     In order to be added to Plaintiff’s email string, Glaser said he had apprised

Maldonado. The latter did not disapprove. Having a trustee copied on the emails of an HCC




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professor was not common practice and had to have been approved at the highest levels of the

administration in the Chancellor’s office.

       25.     Glaser also began frequenting Plaintiff’s campus. These unusual “on-campus

visits” drew the ire and attention of her supervisors. They began questioning why a trustee was

coming over to see Plaintiff and being copied on her emails. Rather than helping, Glaser’s actions

were placing an administrative spotlight on Plaintiff. With mounting problems on the job because

of Glaser’s conduct, Plaintiff turned to Renee Mack, an HCC Manager with the HCC Office of

Institutional Equality—a part of the Human Resources function of the college— for help with the

hostility from her supervisor and to apprise her of the situation and problems with Glaser. She

confided in Ms. Mack that she (Plaintiff) was feeling harassed by Glaser and wanted advice on

what to do. Mack declined to help, claiming that she would have to recuse herself if Plaintiff filed

a complaint against Glaser.

       26.     Plaintiff felt trapped! She needed her job and income (~$70,000/year) to pay her

bills. Her job was her survival lifeline. And now she was dealing with an HCC trustee who had

admitted to having sexual relations with her when she was clearly incapacitated; who had gained

access to her emails with the permission of his friend, the Chancellor; the trustee was now showing

up on campus and at her house drawing the attention and ire of her supervisors and neighbors; and

now the HR person who was supposed to help with Glaser’s sexual harassment was claiming she

was not able to intervene. Plaintiff was at her wit’s end. She couldn’t go to Maldonado, the

Chancellor, because he was Glaser’s friend who himself was having an on-the-job affair with one

of his staffers and who had approved Glaser’s actions. The Office of Institutional Integrity had

declined to help. And she could not appeal to the Board of Trustees because Glaser was the head

of that Board. Plaintiff was without recourse.



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         27.      Glaser knew Plaintiff was helpless and vulnerable. Nevertheless, he increasingly

insisted on coming to her house, where he sat on her couch for hours before beginning to play with

his penis in full view of Plaintiff. Over time, he would try to, and eventually did, begin groping

Plaintiff’s body—always stating that he needed to feel her because he had a frigid woman at home.

Glaser escalated his sexual harassment and exploitation of Plaintiff on campus and repeatedly

called and texted her cellphone after she finished teaching to arrange his sexual trysts with her.

         28.      Glaser’s sexual misconduct with and harassment of Plaintiff became so twisted that

he would text her while attending HCC trustee meetings making explicit remarks about what was

being discussed both in closed and public sessions and scheduling to meet up with Plaintiff for sex

when the trustee meeting was over. Once, Glaser was at home and called Plaintiff to tell her he

was masturbating while thinking of her and wanted her to stay on the line until he “got off”—

which he said he accomplished later in the call. He also captured a second episode of his

masturbating and ejaculating on a video which he sent to Plaintiff while he was out of town in a

hotel room while attending an HCC-sponsored event. The video has the caption, “For You!”

Glaser’s sexual harassment of Plaintiff was growing more perverted by the day. And he began

insisting Plaintiff take nude pictures of herself and send them to him.                        The height of his

recklessness came when he insisted on having sex with Plaintiff without protection. He said a

condom would prevent him from “getting it up.”9

         29.      Glaser’s sexual abuse of Plaintiff reached its zenith when Maldonado planned an

HCC event in Washington, DC, in February 2020. The event was to start in the District on a

Monday. Glaser insisted Plaintiff travel with him to the event, which was being paid for with



9
 Glaser’s quid pro quo sexual harassment and sexual exploitation of Plaintiff did not end with his demands for
physical sex. Suffering from performance issues, he continually insisted Plaintiff write and text him sexually explicit
messages and expressions of her admiration for him in order to make him feel like a man.

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taxpayer dollars. Glaser paid for Plaintiff to travel and scheduled both of them to arrive in DC

three (3) days before the conference was to start. He paid for a single room at the St. Regis Hotel.

In his words, he wanted to have a lot of “fun” with Plaintiff which ultimately proved to mean a lot

of sex with her. Plaintiff and Glaser flew up together on Flight 5749 on February 7, 2020. They

were picked up at the airport by a town car paid for by HCC and taken to the St. Regis Hotel. But

for Glaser’s offer to help a woman in a precarious job situation, and with his demonstrated ability

to get the Chancellor to do whatever he wanted, Plaintiff would never have submitted to Glaser’s

sexual harassment.

                               V.
  GLASER’S CONDUCT WITH PLAINTIFF WAS CONSISTENT WITH HCC’S DE
    FACTO SEXUAL HARASSMENT CUSTOM, PRACTICE AND POLICY OF
ALLOWING POWERFUL MALE SUPERVISORS TO SEXUALLY HARASS FEMALE
           SUBORDINATES WITHOUT APPROPRIATE REDRESS

       30.     Glaser’s sexual harassment of Plaintiff was but another instance of HCC’s de facto

sexual harassment practice and custom, which tolerated powerful male supervisors preying on

vulnerable female employees. Stated differently, contrary to its written anti-sexual and gender

discrimination policies, HCC’s effective de facto practice, policy, and custom actually made

exceptions when the male had superior authority over a female employee or because the male was

a perceived friend of or doing something for the Chancellor. In such instances, the sexual

harassment was either tolerated, indulged, or overlooked entirely.

       31.     As mentioned supra, contemporaneous with Glaser’s sexual exploitation and

harassment of Plaintiff the Chancellor himself was carrying on a quid pro quo sexual affair with a

subordinate married female. Maldonado was so brazen and unapologetic about his affair in the

workplace that when the married female thanked her husband for being the best thing that ever

happened to her, Maldonado took offense and publicly stated something to the following effect:



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“I thought I was the best thing that ever happened to you.” This disgraceful and embarrassing

remark was made in the presence of a crowd and alarmed many in attendance. Notwithstanding

widespread knowledge of the Chancellor’s sexual misconduct—one which saw the paramour

repeatedly promoted by the Chancellor—his conduct went entirely unpunished and unaddressed.

Indeed, the trustees continually renewed his employment contract despite Glaser’s knowledge of

his misconduct.

        32.      Another instance where Maldonado demanded his sexual exploitation of the

subordinate female10 go unpunished occurred when two HCC police officers were called in to

investigate the woman’s complaints about a domestic matter related to what Maldonado was doing

with her. As the officers prepared to interview the woman, Maldonado demanded he sit in on the

interview—a request that was contrary to the HCC police operating protocol.                            Maldonado

threatened the officers that he was their boss and they had to follow his instructions or he could

fire them. When the officers continued to ask Maldonado to leave the interview, he did not and

began coaching the female on what to say in response to the officer’s questions.11 The fact that

Maldonado threatened the officers with termination if he disliked what they were asking the

female, and his further refusal to leave the interrogation room so he could coach the female on

what to say, are compelling facts suggesting that he believed himself to be above the law and that

he could continue sexually exploiting the subordinate female without any adverse consequences.

To this day, HCC is not known to have taken any disciplinary or criminal action against Maldonado

even though his conduct is not a secret—i.e., the HCC police department knows about it, members

of HCC’s Human Resources department know about it, and Glaser admitted to knowing about it.


10
   To protect the married HCC employee her name is not included in this complaint but is available to be supplied if
required.
11
   This interrogation is said to have been recorded on the officers’ body cameras and that footage is presently under
administrative lock on HCC’s computer system.

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           33.     As the Chair of the Board of Trustees, Glaser knew about and talked to Plaintiff

about Maldonado’s illicit sexual misconduct and took no actions to address it. And, even though

Maldonado’s conduct was talked about among others, none of them stepped forth to investigate or

correct Maldonado’s misbehavior. Rather than correct Maldonado, Glaser used it to support his

own wrongdoing with Plaintiff. When Plaintiff complained to Glaser that his conduct of requiring

sex to help her was wrong, Glaser simply remarked it is okay because the Chancellor himself “is

doing the same thing with xxxx’s12 wife.” Thus, the two most powerful policymakers at HCC

ratified each other’s sexual harassment and sexual exploitation of female employees, and no one

else at HCC, including the trustees, took any action to correct or address their behavior. Such

ratification was not by omission—rather, the Defendants knew about the wrongdoing and did

nothing about it.

           34.     Glaser and Maldonado, unfortunately, were not the only male beneficiaries of

HCC’s grotesque de facto sexual harassment policy that permitted females to be victimized.

Following are other instances of this permitted conduct:

           a.      Charles “Chuck” Smith (WM), engaging in sexual misconduct with a subordinate
                   female with only a wink and nod from Maldonado and his administration;

           b.      Rogelio Anastasia (HM), having repetitive sex with a subordinate female without
                   any reasonable corrective action taken by the Maldonado or his administration;

           c.      James Bailey (WM), having sex with and sexually harassing subordinate Black
                   female without any reasonable corrective action taken to stop or address his
                   victimization of the female subordinate;

           d.      William “Bill” Carter (WM), engaging in continual sexual acts on the job with
                   subordinate female employee without reasonable corrective actions being taken by
                   Maldonado or his administration;




12
     The name of the husband is omitted.

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         e.      Alan Ainsworth (WM), engaging in sexual harassment and assault on the job with
                 a subordinate female employee without corrective actions being taken and requiring
                 the assault victim to remain under the supervision of the assaulter;

         f.      HCC Police Chief Greg Cunningham (WM) and HCC Police Captain John
                 Dziedzic (WM) failed to report sexual harassment engaged in by HCC officers even
                 though Texas law required any law enforcement officer to be terminated if found
                 guilty of such sexual harassment. Both officers were found guilty of the sexual
                 harassment, but instead of terminating them as required by law, the Maldonado
                 administration permitted the officers to merely resign which allowed them to
                 continue as police officers somewhere else.

         g.      HCC Police Chief Greg Cunningham (WM) would have direct knowledge of the
                 investigation of Maldonado’s sexual misconduct with the subordinate female but is
                 believed to have tried to bury that investigation.

         35.     The above are but a few of the numerous instances of HCC’s widespread custom,

policy and practice of deliberately turning a blind eye to known sexual predation and sexual

harassment in the workplace. By refusing to correct the conduct of the offenders, HCC, by and

through its policymakers and decision-makers, ratified and approved the perverse actions under

the effective de facto practice and custom of tolerating such behavior.13

                                       VI.
               WHEN THE SEX STOPPED, HCC’S RETALIATION CONTINUED

         36.     Plaintiff ended Glaser’s quid pro quo sexual harassment. After HCC officials

refused to help her with the problem, Plaintiff took matters into her own hands and threatened to

tell Glaser’s wife to stop what he was doing. With Plaintiff’s decision to end Glaser’s sexual

harassment, HCC ramped up its retaliation against her. Each of the following actions occurred: 1)

Glaser’s name was removed from Plaintiff’s emails; 2) Glaser told Plaintiff he could no longer

help her with her employment issues because it would conflict with his role as Chair of the HCC


13
   The Supreme Court and Fifth Circuit have recognized that “a policy maker could ‘ratify’ a subordinate’s illegal
conduct, thus putting the force of a municipal policy behind it[.]” Milam v. City of San Antonio, 113 F. App’x 622,
626 (5th Cir. 2004); see also City of St. Louis v. Praprotnik, 485 U.S. 112, 127 (1988) (plurality opinion). (“If the
authorized policymakers approve a subordinate’s decision and the basis for it, their ratification would be chargeable
to the municipality because their decision is final”).

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Board of Trustees—a statement that completely contradicted the conduct he had been engaging in

with Plaintiff up to the time the sex stopped; 3) HCC’s supervisors increased their efforts to

terminate Plaintiff and Glaser offered no assistance; and 4) Plaintiff’s employment contract was

not renewed within days of her filing her EEOC Charge of Discrimination against HCC,

Maldonado, and Glaser.14

         37.      Additionally, even though Plaintiff has been on a medical leave of absence and has

supplied two separate medical opinions that her condition requires reasonable accommodations,

HCC required her to send daily “check-in” emails even though HCC has failed to identify the

policy that requires such daily notices.15 Plaintiff alleges HCC retaliated against her because she

rebuffed Glaser’s sexual harassment/exploitation and because she filed her EEOC Charge of

Discrimination relating to Glaser’s and Maldonado’s sexual misconduct.

                                  VII.
      HCC RATIFIED GLASER’S AND MALDONADO’S SEXUAL HARASSMENT
                OF PLAINTIFF AND ACTED CONSISTENT WITH
                 HCC’S DE FACTO CUSTOM AND PRACTICE

         38.      At all relevant times, Chancellor Maldonado was a principal policymaker and

implementer of the relevant de facto practices, policies, and customs alleged in this case and the

principal ratifier of the complained-of conduct. While the HCC Board of Trustees may have had




14
   HCC will claim that its decision not to renew Plaintiff’s teaching contract was based on other immaterial factors—
none of which impugned or questioned her teaching ability. Principal among the alleged grounds for ending her 8+
years of teaching was Plaintiff’s failure to report two arrests for which she was never convicted. Based on information
and belief at the time of this filing, Plaintiff intends to show that this basis for terminating Plaintiff was pretextual
because other HCC employees have not been similarly treated. Additionally, Plaintiff will show that such rationale
for terminating Plaintiff’s employment on such a technical basis, while tolerating blatant sexual misconduct
perpetrated by its primary policymakers, is additional proof of the selective nature of HCC’s enforcement of rules.
Maldonado and Glaser could openly violate rules and keep their positions, while HCC claims it had to terminate
Plaintiff’s employment because of an immaterial rule infraction.
15
   See Exhibit 2, May 26, 2021 email from Plaintiff’s counsel asking HCC’s lawyer to identify and provide the policy
requiring such a daily “check-in” practice. The lawyer has not responded to the request.

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powers to act, they abdicated their powers and surrendered them to its Chairman and Maldonado.16

Maldonado and Glaser controlled what was placed on the Board’s agenda to consider. And, just

as Maldonado told the HCC police officers investigating his misconduct with the paramour, “[he]

was their boss, and [he] could fire them if they did not do what [he] wanted.” That was how

Maldonado governed all aspects of the college—such a proclamation by him was not subject to

prior approval or endorsement by the Board of Trustees.

         39.      Importantly, Glaser’s sexual misconduct with Plaintiff occurred while he was

HCC’s Board of Trustees Chair. Glaser admitted he was the personal friend of the Chancellor and

could get the Chancellor to help him with Plaintiff’s employment issues. And, consistent with

those statements, Glaser demonstrated he had obtained “chancellor help” by 1) being allowed to

monitor and be carried on Plaintiff’s emails, 2) allowing him to transport Plaintiff in the HCC paid

town car in D.C., 3) allowing Glaser to show up at Plaintiff’s classes and on campus without

restrictions, 4) pretending not to see Glaser’s sexual harassment and exploitation of Plaintiff, and

5) taking no action to reprimand or hold Glaser responsible for his wrongdoing. In effect, Glaser

was insulated from punishment because of his friendship with and actions of Maldonado to protect

him. Glaser and Maldonado, both HCC final de facto and actual decision-makers/policymakers,

ratified each other’s known sexual harassment with subordinate female employees. Therefore,

such ratification constitutes the official custom, practice, and policy of HCC during the relevant

time period involved in this case. 17 There were no higher policymakers at HCC than the


16
   During the events in question neither the Board of Trustees, its Chairman, nor Maldonado did anything to address
the obvious sexual wrongdoing at the college. As such, the Board, its chair, and Maldonado all knowingly ratified
the offensive and sexually discriminatory conduct alleged in this case.
17
   Here, both Glazer and Maldonado had reciprocal actual knowledge of each other’s misconduct with female
subordinates and ratified the behavior. “The existence of a policy can be shown through evidence of an actual policy,
regulation, or decision that is officially adopted and promulgated by lawmakers or others with policymaking
authority.” Valle v. City of Houston., 613 F.3d 536, 542 (5th Cir. 2010). Alternatively, a plaintiff can satisfy the policy



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Chancellor (Maldonado) and the Chair of the HCC Board of Trustees (Glaser) relating to the issues

being litigated in this case.18

         40.      HCC is legally liable for the wrongdoing perpetrated by Glaser and Maldonado in

their official capacities for at least one or more of the following reasons: 1) their actions as state

actors and final decision-makers, in their official capacity, is the action of the governmental entity;

2) Maldonado and Glaser’s conduct with females was consistent with the widespread, and

persistent de facto custom, practice and policy of HCC; and 3) their conduct was ratified on behalf

of HCC by the final decision-maker.              Glaser clearly knew Maldonado was having sex with a

subordinate married female employee because he expressly told Plaintiff Maldonado was doing

so. Yet, with that actual knowledge of wrongdoing, Glaser took no action as chair of the Board of

Trustees to address, investigate, or stop Maldonado’s abuse. Likewise, Maldonado assisted

Glaser’s sexual misconduct against Plaintiff by allowing Glaser to monitor and access her emails

and permitted him to “pop in” on Plaintiff’s classes without correction, and with actual or

constructive knowledge accommodated Glaser’s sexual escapades with Plaintiff in DC. Stated

differently, Plaintiff alleges Glaser and Maldonado’s conduct were the official acts of HCC or

were performed as state actors under color of state law consistent with the effective de facto policy

and practice of the college with allowed power men to victimize and sexually harass vulnerable

subordinate women without meaningful correction, and their conduct was ratified.19


element by showing that there is a persistent, widespread practice of officials or employees, which, although not
authorized by officially adopted and promulgated policy, is so common and well-settled as to constitute a custom that
fairly represents policy. Burge v. St. Tammany Par., 336 F.3d 363, 369 (5th Cir. 2003).
18
   Importantly, Chancellor Maldonado and Chair Glaser were the principal HCC policymakers who set the agenda for
the Board of Trustees to consider and vote on. Thus, their decisions to ratify the misconduct of each other constituted
the final official action on the matters being alleged in this case.
19
   In this case, the adage a fish rots from the head down is appropriate. HCC’s top leadership, Glaser and Maldonado,
were HCC’s head policymakers infecting the college with an environment of sexual predation, sexual harassment and
sexual misconduct against female employees. As the Fifth Circuit wrote in Valle v. City of Houston., 613 F.3d 536,
542 (5th Cir. 2010), “The existence of a policy can be shown through evidence of an actual policy, regulation, or
decision...or others with policymaking authority.”

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                                                   VIII.
                                            CAUSES OF ACTION20

     A. Unreasonable Bodily Intrusion in Violation of the Due Process Clause of the
        Fourteenth Amendment to the United States Constitution; Alternatively, Violations
        of Title VII, and Tex. Lab. Code Section § 21.001.
         41.      Glaser was a state actor operating under the color of law when he committed to

helping Plaintiff address her employment struggles at HCC. At all times in question, he was the

Chair of the HCC Board of Trustees and made his commitments to Plaintiff in that capacity.

         42.      Glaser told Plaintiff that he had secured the HCC Chancellor’s help to address her

employment issues and demonstrated that assistance in all the ways identified above. And, related

to the “help” he was offering at the college and the apparent success, he told Plaintiff they would

celebrate what he was doing by having drinks at a neighborhood bar where he lived. He paid for

the drinks. And, he insisted on driving his car to pick up Plaintiff. To accommodate his demand,

Plaintiff had to provide Glaser her home address for him to pick her up. This is the most likely

way Glaser learned where she lived since he had never been to her home before.

         43.      After picking Plaintiff up at her house, Glaser drove the two of them in his vehicle

to his chosen bar. They sat at the corner of the bar—just the two of them—and they each ordered

a drink. Glaser began explaining how his assistance for her at the college was being handled.

After several gin and tonics, Plaintiff began feeling disoriented, in a daze, and not herself.

Eventually, she seemed to “blackout” and did not know what was happening. Plaintiff does not

remember anything more that night after consuming the few drinks. Plaintiff does not remember

anyone other than Glaser and the bartender approaching or sitting with them. Plaintiff does not

remember any of the following: how or when she left the bar, anything about Glaser driving her




20Plaintiff incorporates by reference all prior notice allegations above for purposes and in support of each of the causes
of action asserted in this complaint.

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back to her house, how she got back into her house, or what happened inside her house that night.

The first thing Plaintiff remembers after being at the bar with Glaser was waking up the next

morning in her bed without any clothes on and having sore thighs.

       44.     Within an hour or so after Plaintiff woke up, Glaser called. She immediately told

Glaser she did not remember anything from the previous night after drinking a few drinks. Glaser

spoke up and volunteered the following statement: “I took you home, we made out, and I tucked

you in and left.” Plaintiff could not believe what he said. She had never consented to having sex

or engaging in anything physical with Glaser, and his conduct was unwelcome, and now he was

telling her, “we made out,” and she now had sore thighs. Plaintiff was frightened and anguished

over what had happened and called her friends for counseling, guidance, and consolation.

       45.     Glaser’s making out with an incapacitated Plaintiff was a violation of her right to

bodily integrity. As a state actor, purportedly discussing college business with Plaintiff at a bar,

Glaser was cloaked with the imprimatur of the college. He had no right to “make out” with

Plaintiff without her consent. The fact that Glaser admits to this fact, and was aware Plaintiff was

incapacitated at the time because he had to tell her what happened, is some evidence he knew he

had taken advantage of a person who had not given—and could not have given—effective consent

to any sexual act or for him to have made out with her. Plaintiff was deported of her due process

and equal protection rights because her bodily integrity was violated without procedural or

substantive due process by a governmental actor acting under color of state law. Additionally,

Glaser was acting consistent with HCC’s de facto sexual harassment practice and custom.

Plaintiff, therefore, brings her claims against Glaser, in his official capacity, and HCC for denial

of her due process and equal protection rights in violation of Plaintiff’s rights pursuant to the

Fourteenth Amendment to the Constitution, which are actionable pursuant to 42 U.S.C. §1983.



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       46.     Plaintiff alleges Glaser, acting under color of state law, enticed her to ride in his

vehicle to an specified bar, to talk about activities at the college he was engaging for Plaintiff, and

after she was incapacitated and unable to grant effective consent to any sexual act, unlawfully

invaded and violated her bodily integrity in violation of the Due Process Clause of the Fourteenth

Amendment to the U.S. Constitution. See Shillingford v. Holmes, 634 F.2d 263, 265 (5th Cir.1981)

(“[t]he right to be free of state-occasioned damage to a person’s bodily integrity” is protected by

the Fourteenth Amendment’s guarantee to substantive due process). Government actors who

engage in non-consensual sexual contact with individuals under their authority deprive those

individuals of liberty without due process of law in violation of the Fourteenth Amendment, which

includes the right to bodily integrity. See U.S. CONST. AMEND. XIV § 1; also Doe v. Taylor

Indep. Sch. Dist., 15 F.3d 443, 451 (5th Cir. 1994) (en banc) (individuals have a right to be free

from sexual assaults committed under color of law just as they have a right to be free from other

unreasonable physical assaults); citing Shillingford v. Holmes, 634 F.2d 263, 265 (5th Cir.1981)

(“[t]he right to be free of state-occasioned damage to a person’s bodily integrity” is protected by

the Fourteenth Amendment’s guarantee to substantive due process). Acts of sexual misconduct

include sexual assault without consent, sexual contact procured by force, threat of force or

coercion, and unwanted or gratuitous sexual contact such as touching or groping. There are also

instances where taking of nude photographs, staring, leering, and ogling may suffice.

    B. Violation of Title VII of The Civil Rights Act of 1964

       i.) Per Se Sexual Harassment

       47.     Plaintiff is a single female. Defendant HCC is an employer as defined in 42 U.S.C.

§2000e(b) of Title VII. At all relevant times material to this case, HCC employed more than 500

employees. And, the Defendants were at all times aware that Plaintiff was female.



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           48.      Plaintiff timely complied with all prerequisites of administrative relief required

under Title VII and has obtained a Right to Sue letter from the EEOC to proceed in court with this

lawsuit.21

           49.      The collective complained-of conduct of HCC, Maldonado, and Glaser, the latter

two in their official capacities, were deliberately performed under color of state law in violation of

Title VII of the Civil Rights Act of 1964. These defendants created a sexually hostile workplace

for Plaintiff and other female employees. Under the leadership of Maldonado and Glaser, HCC

has created, promoted, adopted, ratified, and endorsed a de facto policy, custom, and practice of

tolerating sexual harassment of subordinate female employees who are being made to submit to

the sexual desires of superior male supervisors without effective or reasonable redress. Both

Glaser and Maldonado not only promoted such policies and practices, they embodied those

policies as final policymakers who themselves practiced such sexual predation throughout the time

Plaintiff was being victimized.

           50.      The sexual harassment of Plaintiff included Glaser monitoring her emails and

communications on campus to dissuade male suitors from talking or engaging in social activities

with Plaintiff; showing up on campus to arrange times for him to meet up to have sex with Plaintiff;

texting Plaintiffs sexually explicit photographs and videos of him masturbating and ejaculating;

calling Plaintiff and asking her to stay on the phone until he “got off” while he was masturbating;

having sex or sexually groping Plaintiff while she was visibly and clearly incapacitated and unable

to grant consent for such sexual touching; exposing his genitals to Plaintiff and asking her to please

him; asking Plaintiff to cross state lines to travel out of town for sex during an HCC event;

requesting Plaintiff send nude pictures of herself; asking Plaintiff to act like she wanted him



21
     See Exhibit 1, EEOC Right to Sue letter.

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sexually to address performance issues he was struggling with, and promising to help with

Plaintiff’s employment issues at HCC in exchange for sexual favors.

       51.     Plaintiff was directly damaged by such actions which were performed consistent

with HCC’s de facto policy, custom, and practice of subordinating female employment rights to

the sexual desires of men in power at HCC. Plaintiff seeks to recover compensatory and punitive

damages, attorney fees, and costs as allowed by law. See Tex. Labor Code. 21.001 and Title VII

of the Civil Rights Act of 1964.

       ii.) Quid Pro Quo Sexual Harassment

       52.     Plaintiff is a single female. Defendant Glaser, in his official capacity, was the Chair

of the HCC Board of Trustees at all relevant times involved in this case. As the Chair of HCC’s

Board of Trustees, he promised to obtain the help of his friend, the HCC Chancellor—Defendant

Maldonado—to assist with protecting Plaintiff from her hostile work environment and protect her

job. That promise, however, came with strings attached—Glaser would insist on being provided

sex for his and the Chancellor’s help.

       53.     The complained-of quid pro quo sexual harassment perpetrated by Glaser was

deliberately performed under color of state law in violation of Title VII of the Civil Rights Act of

1964 and 42 U.S.C. § 1983. Glaser’s conduct created a sexually predatory and hostile workplace

for Plaintiff. He was copied on Plaintiff’s emails, stopped by her classes at will, sent Plaintiff a

video of him masturbating, called Plaintiff to tell her he was masturbating and ejaculating while

on the phone, and paid for Plaintiff to travel across state lines to have sex with him for days in

Washington, DC. And, when Plaintiff refused his requests for sexual favors, he retaliated by

withdrawing all suggested help from her resulting in Plaintiff’s employment being further

imperiled and ultimately ending. Glaser was a final HCC policymaker at all times that he was



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trading favors for sex with Plaintiff, and his quid pro quo sexual harassment was continually

conducted both at and away from HCC campuses.

       54.     Plaintiff was directly damaged by such actions which were performed consistent

with HCC’s de facto policy, custom, and practice of subordinating female employment rights to

the sexual desires of men in power at HCC. Plaintiff seeks to recover compensatory and punitive

damages, attorney fees, and costs as allowed by law. See Tex. Labor Code. 21.001; Title VII of

the Civil Rights Act of 1964.; 42 U.S.C. 1983.

    C. Retaliation and Hostile Workplace

       55.     Plaintiff is a single female. Defendant HCC is an employer as defined in 42 U.S.C.

§2000e(b) of Title VII. At all relevant times material to the asserted claims, HCC employed more

than 500 employees. And, Defendants were at all times aware that Plaintiff was female.

       56.     Plaintiff timely complied with all prerequisites for required under Title VII and has

obtained a Right to Sue letter from the EEOC to proceed in court with this lawsuit.

       57.     The complained of conduct of HCC, Maldonado, and Glaser, the latter two in their

official capacities, were deliberately performed under color of law in violation of Title VII of the

Civil Rights Act of 1964 and actionable also under 42 U.S.C. 1983 relating to sexual predation on

female employees. These defendants created a sexually hostile workplace for Plaintiff and other

female employees. Under the leadership of both Maldonado and Glaser, HCC promoted, adopted,

ratified, and endorsed a de facto policy, custom, and practice of engaging in and tolerating sexual

harassment of female employees by more superior male supervisors. Both Glaser and Maldonado

not only promoted such policies and practices, they also were final policymakers who

implemented, practiced and personified those practices under color of state law.




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       58.    Plaintiff’s hostile workplace included each of the following actions: an HCC trustee

monitoring her emails and communications on campus; a trustee being jealous of her socializing

with any other male at work; being asked to arrange sexual encounters with the trustee while at

work; receiving explicit sexual photographs and videos of an HCC trustee; being requested to

listen to and watch sexual acts of the trustee masturbating; being exposed to the privates of the

trustee and having her show up at her classes, on campus, and at Plaintiff’s house, being groped;

being required to “check in” while on medical leave of absence; having her employment contract

cancelled and not renewed after she refused to have sex with the trustee and filed her EEOC

complaint; and suffering unemployment when she has not been found guilty of any crime while

Maldonado and Glaser continue in their HCC positions after either being discovered to have

exploited females at HCC or admitted to doing so. Again, the retaliation and hostile workplace

claims in this case manifest HCC’s de facto sexual harassment practices and policies that favor

male predators over female victims.

       59.    Plaintiff was directly damaged by defendants’ retaliation and hostile workplace

which were performed consistent with HCC’s de facto policy, custom, and practice of

subordinating female employment rights to the sexual desires of men in power at HCC. Plaintiff

seeks to recover compensatory and punitive damages, attorney fees, and costs as allowed by law.

See Tex. Labor Code. 21.001; Title VII of the Civil Rights Act of 1964.; 42 U.S.C. 1983.

    D. Monell Liability of HCC

       60.    Plaintiff is a single female. Defendant HCC was her employer at all times involved

in this case and had more than 500 employees. HCC policymakers knew at all times that Plaintiff

was female and engaged in the conduct alleged in this case because she was female.




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       61.     After Maldonado’s appointment as Chancellor of HCC in May of 2014, he began

an extramarital affair with a subordinate female working at HCC. Both Maldonado and the female

were married, and the affair, though against HCC written policy, was widely known including by

the Chair of the HCC Board of Trustees. Indeed, the Trustee Chair was a friend of the Chancellor,

repeatedly told Plaintiff he knew of the sexual misconduct Maldonado was engaging in with the

subordinate female—yet no action was taken at HCC to correct the conduct.

       62.     Maldonado’s misconduct with his subordinate paramour became so well known

that the husband of the paramour apparently became somewhat belligerent with his wife. In

response, Maldonado and/or his paramour called the HCC police department to file a complaint.

Based on information and reasonable belief, two HCC police officers commenced an investigation

of the matter, including interviewing the paramour. However, Maldonado refused to leave the

room when the officers attempted to interview the woman. One of the officers, following HCC

protocol, asked Maldonado to leave the room while they questioned the female only to have

Maldonado tell them he was not leaving the room. Maldonado then sternly warned the officers

that he (Maldonado) was their boss and could fire them—implying they had to follow his rules in

the interrogation or lose their jobs. The paramour was thereafter interviewed with Maldonado

present. Maldonado is said to have coached the woman on what to say and not say during the

interview. Such conduct by Maldonado and the paramour shows Maldonado’s consciousness of

guilt, attempt to interfere with a criminal investigation, and tampering with a witness.

       63.     Knowing of Maldonado’s sexual misconduct on campus, Glaser engaged in the

same misconduct with Plaintiff. While Maldonado’s paramour received numerous promotions

and career advances during the time she was working at HCC, Glaser was promising to “protect”

Plaintiff’s job in exchange for a sexual relationship. Maldonado and Glaser— the final relevant



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policymakers at HCC—established, approved, and personified HCC’s de facto practice, policy,

and custom of tolerating male predation and harassment of female employees at the victims’

expense. The fact that the two final policymakers themselves were practicing the very de facto

policy and practice without correction is sufficient evidence to establish the complained of

institutional HCC policy. However, in addition to the policymakers’ conduct, their actions

infected the entire organization with numerous similar acts of sexual predation against female

employees taking place without reasonable corrective action being taken to curb or correct the

conduct.22

        64.      HCC’s de facto policy created a workplace for Plaintiff and other female employees

that not only encouraged sexual misconduct but condoned such conduct even when it was known

to be occurring.      As such, Plaintiff alleges this policy, custom, and practice was sexually

discriminatory in violation of Plaintiff’s rights under 42 U.S.C. § 1983 and the Fourteenth

Amendment to the Constitution. The policy was so widespread, persistent and ongoing it satisfies

two bases for Monell liability against HCC: 1) the policy was approved by the final policymakers,

and 2) the practice of the policy was so widespread, persistent and ongoing as to constitute the

approved policy of HCC.

        65.      Plaintiff was directly damaged by de facto sexual harassment that favored male

predators over their female victims. Plaintiff seeks recovery of compensatory and punitive

damages, attorney fees, and costs as allowed by law. See 42 U.S.C. 1983.

     E. Violation of Plaintiff’s Rights Under the ADA




22
   See Pages 14-15, supra. Importantly, Plaintiffs have no records or information that HCC’s Board of Trustees or
Human Resources Department took any corrective actions against Maldonado or Glaser while Plaintiff was being
victimized at HCC.

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       66.       Plaintiff also asserts a claim for HCC’s violation of her rights to reasonable

accommodations under the Americans with Disabilities Act (“ADA”) and Chapter 21, Texas Labor

Code. These laws prohibit employers from discriminating against applicants or employees with

disabilities in job application, procedures, conditions and privileges of employment. Chapter 21 of

the Texas Labor Code applies to all state and local governmental entities. And, a qualified

individual under these laws has to meet one or more of the following requirements:

             •   have a physical or mental disability that substantially limits one or more major life

                 activities;

             •   have a record of having a disability; or

             •   be regarded as having a disability.

       67.       Plaintiff was diagnosed with PTSD by at least two different doctors qualifying her

to be granted reasonable workplace accommodations due to her disability. Even though Plaintiff

has been on medical leave of absence, her disability is continuing. HCC was required to provide

her reasonable accommodations but instead insisted that she report daily; such an action was more

retribution than an accommodation. Plaintiff has been satisfying her teaching duties, and the daily

“check-in” emails was an unreasonable demand which further aggravated her PTSD. Plaintiff has

medical opinions supporting this fact. The “check-ins” was really a retaliatory act by HCC because

1) Plaintiff had a disability which allowed her to be in medical leave of absence, and 2) because

of her EEOC complaints against HCC, Glaser, and Maldonado.

                                                IX.
                                              PRAYER

       68.       This Court has jurisdiction over the federal and related state law claims asserted in

this case. Defendants’ immunity has been expressly waived by the laws referenced above, and

because HCC has accepted federal grant funds, the Defendants’ immunity from suit has been


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waived. Gruver v. La. Bd. of Supervisors for the La. State Univ. Agric. & Mech. Coll., 959 F.3d

178 (5th Cir. 2020) (governmental entity which accepts federal funds expressly waives its

sovereign immunity as to discrimination claims). Accordingly, Plaintiff asks that all Defendants

be served with process, and judgment be entered for Plaintiff, against Defendants, and she recover

her compensatory and punitive damages up to $15,000,000, including lost past and future lost

income, lost health, pension, and retirement benefits, mental anguish damages, attorney’s fees,

costs and such other and further relief to which she may be entitled.



Dated: July 8, 2021                                  Respectfully submitted,

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